 Case 2:21-cv-04366-RGK-MAR Document 28 Filed 08/30/21 Page 1 of 25 Page ID #:164




 1   TRACY L. WILKISON
     Acting United States Attorney
 2   SCOTT M. GARRINGER
     Assistant United States Attorney
 3   Chief, Criminal Division
     ANDREW BROWN (Cal. Bar No. 172009)
 4   VICTOR A. RODGERS (Cal. Bar No. 101281)
     MAXWELL COLL (Cal. Bar No. 312651)
 5   Assistant United States Attorneys
     Major Frauds/Asset Forfeiture/
 6   General Crimes Sections
           1100/1400/1200 United States Courthouse
 7         312 North Spring Street
           Los Angeles, California 90012
 8         Telephone: (213) 894-0102/2569/1785
           Facsimile: (213) 894-6269/0142/0141
 9         E-mail: Andrew.Brown@usdoj.gov
                   Victor.Rodgers@usdoj.gov
10                 Maxwell.Coll@usdoj.gov
11   Attorneys for Defendants
     UNITED STATES OF AMERICA and
12   TRACY L. WILKISON and KRISTI KOONS JOHNSON
     IN THEIR OFFICIAL CAPACITY ONLY
13
                               UNITED STATES DISTRICT COURT
14
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
15
                                    WESTERN DIVISION
16
     JOHN JOE,                                 Case No. 2:21-cv-04366-RGK-MAR
17
                 Plaintiff,                    DEFENDANTS’ NOTICE OF MOTION
18                                             AND MOTION TO DISMISS THE
                        v.                     FIRST AMENDED COMPLAINT FOR
19                                             LACK OF SUBJECT MATTER
   UNITED STATES OF AMERICA, ET                JURISDICTION AND FAILURE TO
20 AL.,                                        STATE A CLAIM UPON WHICH
                                               RELIEF CAN BE GRANTED
21               Defendants.                   PURSUANT TO FED. R. CIV. P.
                                               12(b)(1) AND 12(b)(6);
22                                             MEMORANDUM OF POINTS AND
                                               AUTHORITIES AND
23                                             DECLARATIONS OF ANDREW
                                               BROWN, JUSTIN PALMERTON,
24                                             JESSIE MURRAY AND VICTOR A.
                                               RODGERS; [PROPOSED] ORDER
25                                             GRANTING MOTION LODGED
                                               UNDER SEPARATE COVER
26
                                               Date:      October 18, 2021
27                                             Time:      9:00 a.m.
                                               Courtroom: 850, the Honorable
28                                                        R. Gary Klausner
 Case 2:21-cv-04366-RGK-MAR Document 28 Filed 08/30/21 Page 2 of 25 Page ID #:165




 1
                                      NOTICE OF MOTION
 2
           PLEASE TAKE NOTICE that on October 18, 2021 at 9:00 a.m., or as soon
 3
     thereafter as the matter may be heard, in the courtroom of the Honorable R. Gary
 4
     Klausner, United States District Court, Courtroom 850, Roybal Federal Building and
 5
     U.S. Courthouse, 255 East Temple Street, Los Angeles, California 90012, defendants
 6
     United States of America and Tracy L. Wilkison and Kristi Koons Johnson in their
 7
     official capacity only (collectively, “the government”) will and hereby do move,
 8
     pursuant to Fed. R. Civ. P. 12(b)(1) and 12(b)(6), to dismiss the first amended complaint
 9
     for lack of subject matter jurisdiction and for failure to state a claim upon which relief
10
     can be granted. This Motion is made following the conference of counsel pursuant to
11
     Local Rule 7-3 (see Rodgers Decl. ¶ 2), and is made on the grounds that there is no
12
     subject matter jurisdiction over this action and plaintiff’s complaint fails to state a claim
13
     upon which relief can be granted.
14
           This motion is based upon this notice of motion and motion; the attached
15
     memorandum of points and authorities and declarations of Andrew Brown, Victor A.
16
     Rodgers, Justin Palmerton and Jessie Murray; the proposed order granting the motion
17
     (lodged under separate cover); all pleadings and papers on file in this action; and such
18
     further matters as may be presented at any hearing on this Motion, and matters of which
19
     the Court may take notice.
20
     Dated: August 30, 2021                         Respectfully submitted,
21
                                                    TRACY L. WILKISON
22                                                  Acting United States Attorney
                                                    SCOTT M. GARRINGER
23                                                  Assistant United States Attorney
                                                    Chief, Criminal Division
24
                                                          /s/             ______________
25                                                  ANDREW BROWN
                                                    VICTOR A. RODGERS
26                                                  MAXWELL COLL
                                                    Assistant United States Attorneys
27
                                                   Attorneys for Defendants
28                                                 UNITED STATES OF AMERICA, et al.
                                                   1
 Case 2:21-cv-04366-RGK-MAR Document 28 Filed 08/30/21 Page 3 of 25 Page ID #:166




 1                                              TABLE OF CONTENTS
 2   MEMORANDUM OF POINTS AND AUTHORITIES ................................................... 1
 3   I.     INTRODUCTION ................................................................................................... 1
 4   II.    STATEMENT OF FACTS ...................................................................................... 1
 5   III.   ARGUMENT ........................................................................................................... 3
 6          A.       The Standards For Motions To Dismiss Under Fed R. Civ. P. 12 For
                     A Lack of Subject Matter Jurisdiction And Failure To State A Claim
 7                   Upon Which Relief Can be Granted ............................................................. 4
 8          B.       Plaintiff’s Complaint Seeks To Invoke The Equitable Jurisdiction Of
                     This Court ...................................................................................................... 6
 9
            C.       Plaintiff Has Not Shown Equitable (And Therefore Subject Matter)
10                   Jurisdiction Exists As To The Items That Are Subject To
                     Administrative Forfeiture Because The Commencement Of
11                   Administrative Forfeiture Proceedings Provides Plaintiff With An
                     Adequate Remedy At Law ............................................................................ 7
12
            D.       Plaintiff Cannot Satisfy Article III’s Case Or Controversy
13                   Requirement .................................................................................................. 9
14          E.       Plaintiff Request For The Return Of Items The Government Does
                     Not Possess Must Be Brought Under The Federal Torts Claims Act ......... 12
15
            F.       Plaintiff’s Stand-Alone Third And Fourth Causes Of Action Do Not
16                   State Claims Upon Which Relief Can Be Granted Because They Are
                     Remedies And Not Independent Claims For Relief.................................... 14
17
            G.       Plaintiff’s Fourth Cause Of Action For Order Disclosing Inventory
18                   Fails To State A Claim For Relief............................................................... 15
19   IV.    CONCLUSION...................................................................................................... 16
20   DECLARATION OF AUSA ANDREW BROWN ........................................................ 17
21   DECLARATION OF SPECIAL AGENT JUSTIN PALMERTON ............................... 39
22   DECLARATION OF SUPORVISORY AGENT JESSIE MURRAY............................ 41
23   DECLARATION OF AUSA VICTOR RODGERS ....................................................... 42
24
25
26
27
28
                                                                     i
 Case 2:21-cv-04366-RGK-MAR Document 28 Filed 08/30/21 Page 4 of 25 Page ID #:167




 1                                               TABLE OF CONTENTS
 2   Federal Cases
 3   Adeleke v. United States,
 4    355 F.3d 144 (2d Cir. 2004) .......................................................................................... 13
 5   Amina v. WMC Fin. Co.,
 6    329 F. Supp. 3d 1141 (D. Haw. 2019) .......................................................................... 14
 7   Approximately $1.67 Million in U.S. Currency, Stock & Other Valuable Assets,
 8    513 F.3d 991 (9th Cir. 2008) ......................................................................................... 10
 9   Arford v. United States,
10    934 F.2d 229 (9th Cir. 1991) ......................................................................................... 13
11   Bailey v. United States,
12    508 F.3d 736 (5th Cir. 2007) ......................................................................................... 13
13   Ballard v. Chase Bank United States, NA,
14    2010 WL 5114952 (S.D. Cal. Dec. 9, 2010) ................................................................. 15
15   Bell Atlantic Corp. v. Twombly,
16    550 U.S. 544 (2007) ........................................................................................................ 5
17   Bender v. Williamsport Area School Dist.,
18    475 U.S. 534 (1986) ........................................................................................................ 4
19   Billingsley v. C.I.R.,
20     868 F.2d 1081 (9th Cir. 1989) ......................................................................................... 4
21   Blair v. IRS,
22     304 F.3d 861 (9th Cir. 2002) ......................................................................................... 14
23
     Caltex Plastics, Inc. v. Lockheed Martin Corp.,
24    824 F.3d 1156 (9th Cir. 2016) ......................................................................................... 5
25
     Cardenas v. Anzai,
26    311 F.3d 929 (9th Cir.2002) .......................................................................................... 11
27
28
                                                                    ii
 Case 2:21-cv-04366-RGK-MAR Document 28 Filed 08/30/21 Page 5 of 25 Page ID #:168




 1                                    TABLE OF CONTENTS CONTINUED
 2   DaimlerChrysler Corp. v. Cuno,
      547 U.S. 332 (2006) ........................................................................................................ 4
 3
 4   Diaz v. United States,
      517 F.3d 608 (2d Cir. 2008) .......................................................................................... 13
 5
 6   Gillespie v. Civiletti,
      629 F.2d 637 (9th Cir. 1980) ......................................................................................... 14
 7
 8   Haltiwanger v. United States,
 9    494 F. Supp. 2d 927 (N.D. Ill. 2007)............................................................................... 8

10   In Re Return of Seized Prop. (Jordan),
11     625 F. Supp. 2d 949 (C.D. Cal. 2009) ............................................................................. 8

12   In Re The Return of Seized Property, Specifically All Funds Seized from BoundlessRise,
13     LLC,
       2017 WL 4180149 (C.D. Cal. Aug. 30, 2017) ................................................................ 8
14
15   Jachetta v. United States,
       653 F.3d 898 (9th Cir. 2011) ......................................................................................... 13
16
17   Jensen v. Quality Loan Serv. Corp.,
       702 F. Supp. 2d 1183 (E.D. Cal. 2010) ......................................................................... 14
18
19   Kahn v. United States,
      2009 WL 2900249 (S.D.N.Y. Sept. 8, 2009) ................................................................ 13
20
21   Laub v. United States Dep’t of the Interior,
       342 F.3d 1080 (9th Cir. 2003) ....................................................................................... 12
22
23   Lujan v. Defenders of Wildlife,
      504 U.S. 555 (1992) ...................................................................................................... 11
24
25   Massey v. Ojaniit,
      759 F.3d 343 (4th Cir. 2014) ........................................................................................... 5
26
27   Ordonez v. United States,
      680 F.3d 1135 (9th Cir. 2012) ....................................................................................... 13
28
                                                                   iii
 Case 2:21-cv-04366-RGK-MAR Document 28 Filed 08/30/21 Page 6 of 25 Page ID #:169




 1                                    TABLE OF CONTENTS CONTINUED
 2   Otonye v. U.S.,
      903 F. Supp. 357 (E.D.N.Y. 1995) .................................................................................. 9
 3
 4   Railway Mail Ass'n v. Corsi,
      326 U.S. 88 (1945) ........................................................................................................ 11
 5
 6   Ramsden v. United States,
      2 F.3d 322 (9th Cir. 1993) ............................................................................................... 6
 7
 8   Roberts v. Corrothers,
 9    812 F.2d 1173 (9th Cir. 1987) ......................................................................................... 5

10   Safe Air for Everyone v. Meyer,
11     373 F.3d 1035 (9th Cir. 2004) ..................................................................................... 4, 5

12   Seismic Reservoir 2020, Inc. v. Paulsson,
13     785 F.3d 330 (9th Cir. 2015) ........................................................................................... 5

14   Silver State Broad, LLC v. Beasley FM Acquisition Corp.,
15     2012 WL 4049481 (D. Nev. Sept. 12, 2012) ................................................................ 14

16   Stormans, Inc. v. Selecky,
17     586 F.3d 1109 (9th Cir. 2009) ....................................................................................... 11

18   Thomas v. Anchorage Equal Rights Com’n,
19    220 F.3d 1134 (9th Cir. 2000) ....................................................................................... 11

20   Thornhill Pub. v. General Tel. and Electronics Corp.,
21    594 F.2d 730 (9th Cir. 1979) ........................................................................................... 5

22   United States v. 2nd Amendment Guns, LLC,
23    917 F. Supp. 2d 1120 (D. Or. 2012) ................................................................................ 9

24   United States v. $8,850,
25    461 U.S. 555 (1983) .................................................................................................. 6, 10

26   United States v. $1,111,120.00 in U.S. Currency,
27    2014 WL 619436 (S.D. Ohio Feb. 18, 2014) ................................................................ 10

28
                                                                   iv
 Case 2:21-cv-04366-RGK-MAR Document 28 Filed 08/30/21 Page 7 of 25 Page ID #:170




 1
                                     TABLE OF CONTENTS CONTINUED
 2
     United States v. Eames,
 3
      524 F. App'x 320 (9th Cir. 2013) .................................................................................. 13
 4
     United States v. Elias,
 5
      921 F.2d 870 (9th Cir. 1990) ....................................................................................... 6, 7
 6
     United States v. Ibrahim,
 7
      522 F.3d 1003 (9th Cir. 2008) ......................................................................................... 6
 8
 9   United States v. Lazarenko,
      476 F.3d 642 (9th Cir. 2007) ................................................................................... 11, 12
10
11   United States v. Martinson,
      809 F.2d 1364 (9th Cir. 1987) ......................................................................................... 6
12
13   United States v. Naovalath,
      2008 WL 2885965 (D. Minn. Jul. 22, 2008) ................................................................... 8
14
15   United States v. Ninety-Three (93) Firearms,
      330 F.3d 414 (6th Cir. 2003) ......................................................................................... 10
16
17   United States v. One 1987 Jeep Wrangler,
      972 F.2d 472 (2d Cir. 1992) ............................................................................................ 8
18
19   United States v. Ritchie,
      342 F.3d 903 (9th Cir. 2003) ........................................................................................... 6
20
21   United States v. Streich,
      560 F.3d 926 (9th Cir. 2009) ......................................................................................... 11
22
23   United States v. U.S. Currency, $83,170.78,
      851 F.2d 1231 (9th Cir. 1988) ..................................................................................... 6, 7
24
25   United States v. Voraveth,
      2008 WL 4287293 (D. Minn. Jul. 1, 2008) ..................................................................... 8
26
27   Von Saher v. Norton Simon Museum of Art at Pasadena,
      592 F.3d 954 (9th Cir. 2010) ........................................................................................... 5
28
                                                                  v
 Case 2:21-cv-04366-RGK-MAR Document 28 Filed 08/30/21 Page 8 of 25 Page ID #:171




 1
                                       TABLE OF CONTENTS CONTINUED
 2
     Warren v. Fox Family Worldwide, Inc.,
 3
      328 F.3d 1136 (9th Cir. 2003) ......................................................................................... 5
 4
     Western Oil & Gas Ass’n v. Sonoma County,
 5
      905 F.2d 1287 (9th Cir. 1990) ................................................................................. 11, 12
 6
     White v. Lee,
 7
      227 F.3d 1214 (9th Cir. 2000) ......................................................................................... 4
 8
 9   Winter v. Cal. Med. Review Bd., Inc.,
      900 F.2d 1322 (9th Cir.1990) ........................................................................................ 12
10
11   $8,050.00 in U.S. Currency v. United States,
       307 F. Supp. 2d 922 (N.D. Ohio 2004) ........................................................................... 8
12
     Federal Statutes
13
14   18 U.S.C. § 983 ................................................................................................................... 8

15   18 U.S.C. § 983(a)(3)(A) .......................................................................................... 1, 4, 10
16
     18 U.S.C. § 983(a)(3)(B) .......................................................................................... 1, 4, 10
17
18   19 U.S.C. § 1608 ................................................................................................................. 7

19   28 U.S.C. § 2671 ............................................................................................................... 12
20
     28 U.S.C. § 2672 ............................................................................................................... 14
21
22   28 U.S.C. § 2675(a) .......................................................................................................... 14

23   Federal Rules
24   Fed R. Civ. P. 12 ................................................................................................................. 2
25
     Fed. R. Civ. P. 12(b)(1)................................................................................................... 1, 4
26
27   Fed. R. Civ. P. 12(b)(6)............................................................................................. 1, 5, 14

28   Fed. R. Civ. P. 12(h)(3)....................................................................................................... 4
                                                              vi
 Case 2:21-cv-04366-RGK-MAR Document 28 Filed 08/30/21 Page 9 of 25 Page ID #:172




 1                                     TABLE OF CONTENTS CONTINUED
 2   Fed. R. Crim. P. 41.....................................................................................................passim
 3
     Fed. R. Crim. P. 41(g) ................................................................................................passim
 4
 5   Fed. R. Crim. P. 41(f)(1)(C) ......................................................................................... 1, 15
 6   Fed. R. Crim. P. 41(f)(1)(D) ......................................................................................passim
 7
     Fed. R. Crim. P. 41(g) ................................................................................................passim
 8
 9   Fed. R. Crim. P. 41Rule 41(e) ........................................................................................ 6, 9
10   Federal Regulations
11   28 C.F.R. § 8.10(e)............................................................................................................ 10
12
     28 C.F.R. § 8.12 ................................................................................................................ 10
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                                     vii
 Case 2:21-cv-04366-RGK-MAR Document 28 Filed 08/30/21 Page 10 of 25 Page ID #:173




 1                   MEMORANDUM OF POINTS AND AUTHORITIES
 2                                                I.
 3                                       INTRODUCTION
 4         Defendants United States of America and Tracy L. Wilkison and Kristi Koons
 5   Johnson in their official capacity only (collectively, “the government”) respectfully
 6   submit this memorandum of points and authorities in support of their motion pursuant to
 7   Fed. R. Civ. P. 12(b)(1) and 12(b)(6) to dismiss the first amended complaint for lack of
 8   subject matter jurisdiction and failure to state a claim upon which relief can be granted.
 9   Plaintiff seeks the return of jewelry items and currency. The currency, totaling $23,494,
10   was never the subject of any asset forfeiture proceedings, and has always been slated for
11   return. The jewelry items are the subject of the administrative forfeiture proceedings, for
12   which the deadline to expire a forfeiture complaint will not expire until September 14,
13   2021. However, the United States will not be filing any judicial forfeiture action against
14   the jewelry, and those items will be returned. Accordingly, this action does not satisfy
15   the Article III case or controversy requirements and is moot. While there may be some
16   issue regarding what jewelry was or was not in the box and will be returned, any such
17   dispute (assuming it exists) would require that an action be filed under the Federal Torts
18   Claims Act, with a prior demand for the return of the property before filing suit, in order
19   to establish subject matter jurisdiction.
20         But even assuming, for the sake of argument, that plaintiff’s property was not
21   being returned, equitable jurisdiction would not lie over the jewelry items because the 90
22   day deadline in 18 U.S.C. 983(a)(3)(A) & (B) to file a judicial forfeiture action against
23   those items has not expired. In addition, plaintiff’s stand-alone causes of action for an
24   inventory and declaratory relief are improper because they are not claims for relief but
25   instead claims for a remedy. In addition, plaintiff’s claim for an inventory does not meet
26   the requirements of Fed. R. Crim. P. 41, because the government satisfied Fed. R. Crim.
27   P. 41(f)(1)(C) by leaving a copy of the warrant and return where the property was taken,
28   providing inventories to persons without a verified connection to a specific box would be
                                                  1
 Case 2:21-cv-04366-RGK-MAR Document 28 Filed 08/30/21 Page 11 of 25 Page ID #:174




 1   unwise because the FBI could not verify that it was returning property to the correct
 2   person or someone who based on the inventory knew what was inside a particular box
 3   and, in any event, Fed. R. Crim. P. 41 does not apply to administrative inventories.
 4                                                II.
 5                                  STATEMENT OF FACTS
 6         Plaintiff John Joe has filed a first amended complaint (“FAC”) alleging three
 7   claims against the government, namely his first, third and fourth causes of action. 1 The
 8   first cause of action for return of property pursuant to Fed. R. Crim. P. 41(g) for return of
 9   property and third cause of action for declaratory relief allege violations of the Fourth
10   and Fifth Amendments arising from the government’s allegedly unlawful search and
11   seizure of the property inside safety deposit box number 110, which safety deposit box
12   was situated at US Private Vaults (“USPV”) in Beverly Hills, California. Docket No. 1
13   (FAC ¶¶ 3, 32, 36, 131-135 and 144-147). Plaintiff’s fourth cause of action seeks an
14   order requiring the government to provide plaintiff, pursuant to Fed. R. Crim. P.
15   41(f)(1)(D), with a copy of any inventory of plaintiff’s property taken from box number
16   110. FAC ¶¶ 3, 32, 36 and 148-151.2
17         In March 2021, a grand jury indicted USPV for conspiring with its customers to
18   launder money, distribute drugs, and structure financial transactions to avoid currency
19   reporting requirements. Brown Decl. ¶ 2 and Ex. A. The indictment provides that
20   USPV’s business is predicated on “attract[ing] customers in possession of proceeds from
21   criminal offenses[.]” Id. (Ex. A [indictment at 3:21]). USPV allegedly did so by
22   “touting the anonymity of the safety deposit rentals” and “boasting that, unlike banks, its
23
24         1
             Plaintiff’s Bivens claim in his second cause of action is against only defendants
     who are sued in their individual capacities. The instant motion is not filed on behalf of
25   those defendants, but instead only as to the causes of action against “the government” as
     defined above.
26         2
             The FAC further alleges that plaintiff sues using a pseudonym to protect himself
27   from the risk of criminal investigation and prosecution, and from injury, harassment,
     embarrassment and retaliation based merely on the fact that he is a USPV box holder,
28   but the government believes that plaintiff’s identity is already known to the government.
     FAC ¶¶ 17, 37 and 70.
                                                   2
 Case 2:21-cv-04366-RGK-MAR Document 28 Filed 08/30/21 Page 12 of 25 Page ID #:175




 1   anonymous safety deposit box rentals did not require customer information that ‘can be
 2   easily accessed by government agencies (such as the IRS)[.]’ ” (Ex. A [indictment at
 3   3:23-28]).
 4         The government obtained a sealed criminal seizure warrant for, among other
 5   things “[t]he nests of safety deposit boxes and keys” located at USPV, and the warrant
 6   provides that it “does not authorize a criminal search or seizure of the contents of the
 7   safety boxes[,]” that “agents shall follow their written inventory policies to protect their
 8   agencies and the contents of the boxes” and that “agents shall inspect the contents of the
 9   boxes in an effort to identify their owners in order to notify them so that they can claim
10   their property[.]” Brown Decl. ¶¶ 3 and 4 and Ex. B. In addition, the government
11   obtained an affidavit in support of the search and seizure warrants at USPV. FAC ¶ 78.
12         Between March 22 and 26, 2021, federal agents executed the seizure warrant and
13   removed the nests of safe deposit boxes, inventorying their contents in the process, as
14   authorized in the seizure warrant and discussed in the affidavit supporting it. Id.;
15   Palmerton Decl. ¶ 2; FAC ¶¶ 59(d)-(g). The inventory of the boxes’ contents revealed,
16   among other items, firearms, illegal drugs, and anonymous stores of wealth, mostly cash.
17   Palmerton Decl. ¶ 2. Drug detecting dogs alerted to most, but not all of the cash stashes.
18   Id.
19         On May 20, 2021, the FBI initiated administrative forfeiture proceedings as to the
20   miscellaneous precious items in plaintiff’s box by sending an individual notice of the
21   FBI commencement of administrative forfeiture to plaintiff, which plaintiff received on
22   or about May 24, 2021. FAC ¶ 63. The notice listed the gold and silver items found
23   inside the box, but plaintiff alleges that the description of the gold and silver items was
24   inaccurate regarding quantities and weights and did not mention a watch allegedly
25   situated therein. FAC ¶ 64. In addition, plaintiff alleges that there was currency in the
26   box that was not mentioned in the individual notice (FAC ¶¶ 56 and 64), but that is
27   because the FBI never initiated administrative forfeiture proceedings as to the $23,494
28   found in plaintiff’s box, and the currency was instead always slated for return. Murray
                                                   3
 Case 2:21-cv-04366-RGK-MAR Document 28 Filed 08/30/21 Page 13 of 25 Page ID #:176




 1   Decl. ¶ 2. On June 16, 2021, plaintiff filed a claim to contest the administrative
 2   forfeiture of the gold and silver items set forth in the individual notice plaintiff received
 3   on May 24, 2021 (FAC ¶ 70), which means the 90-day deadline set forth in 18 U.S.C.
 4   § 983(a)(3)(A) & (B) for the government to file a judicial forfeiture action against those
 5   items or else release them has not yet expired and will not expire until September 14,
 6   2021. The government will not be pursuing judicial forfeiture against the gold and silver
 7   items, and they (like the currency in plaintiff’s box) will be returned. Murray Decl. ¶ 3.
 8                                                III.
 9                                          ARGUMENT
10         A.     The Standards For Motions To Dismiss Under Fed. R. Civ. P. 12 For
11                Lack of Subject Matter Jurisdiction And Failure To State A Claim
12                Upon Which Relief Can Be Granted.
13         Federal courts should not adjudicate controversies where subject matter
14   jurisdiction is lacking because they “have only the power that is authorized by Article III
15   of the Constitution and the statutes enacted by Congress pursuant thereto.” Bender v.
16   Williamsport Area School Dist., 475 U.S. 534, 541 (1986)(citation omitted). As courts
17   of limited jurisdiction, the presumption is that a court is “without jurisdiction unless the
18   contrary appears affirmatively from the record.” Id. at 546 (internal quotes and citations
19   omitted). The burden of establishing subject matter jurisdiction rests upon the party
20   invoking it [DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 342 n.3 (2006)] and “the
21   court is under a continuing duty to dismiss an action whenever it appears that the court
22   lacks jurisdiction.” Billingsley v. C.I.R., 868 F.2d 1081, 1085 (9th Cir. 1989) (internal
23   quotes and citation omitted); see also Fed. R. Civ. P. 12(h)(3).
24         Fed. R. Civ. P. 12(b)(1) subject matter jurisdiction attacks can be either facial or
25   factual. White v. Lee, 227 F.3d 1214, 1242 (9th Cir. 2000). In “a facial attack, the
26   challenger asserts that the allegations contained in a complaint are insufficient on their
27   face to invoke federal jurisdiction.” Safe Air for Everyone v. Meyer, 373 F.3d 1035,
28   1039 (9th Cir. 2004). Conversely, in a factual attack “[n]o presumptive truthfulness
                                                    4
 Case 2:21-cv-04366-RGK-MAR Document 28 Filed 08/30/21 Page 14 of 25 Page ID #:177




 1   attaches to plaintiff’s [complaint’s] allegations” [Thornhill Pub. v. General Tel. and
 2   Electronics Corp., 594 F.2d 730, 733 (9th Cir. 1979) (internal quotes and citation
 3   omitted)], “the district court may review evidence beyond the complaint without
 4   converting the motion to dismiss into a motion for summary judgment” [Safe Air for
 5   Everyone, 373 F.3d at 1039 (citation omitted)], and courts may weigh the extrinsic
 6   evidence in determining whether the facts show that a plaintiff has discharged plaintiff’s
 7   burden of demonstrating that subject matter jurisdiction exists [Roberts v. Corrothers,
 8   812 F.2d 1173, 1177-78 (9th Cir. 1987)].
 9         Courts should grant a Fed. R. Civ. P. 12(b)(6) motion to dismiss for failure to state
10   a claim upon which relief can be granted when a complaint fails to allege a cognizable
11   legal theory or sufficient factual support for a legal theory. Caltex Plastics, Inc. v.
12   Lockheed Martin Corp., 824 F.3d 1156, 1159 (9th Cir. 2016). Fed. R. Civ. P. 12(b)(6)
13   “authorizes a court to dismiss a claim on the basis of a dispositive issue of law.” Seismic
14   Reservoir 2020, Inc. v. Paulsson, 785 F.3d 330, 335 (9th Cir. 2015) (internal quotes and
15   citation omitted). Also, a complaint must set forth “enough facts to state a claim for
16   relief that is plausible on its face” to defeat the motion. Bell Atlantic Corp. v. Twombly,
17   550 U.S. 544, 570 (2007). On the motion, courts accept as true the well-pleaded
18   material factual allegations of a complaint but need not accept as true conclusory
19   allegations, unwarranted factual deductions, unreasonable inferences or legal
20   characterizations. Bell Atlantic Corp., 550 U.S. at 555; Warren v. Fox Family
21   Worldwide, Inc., 328 F.3d 1136, 1139 (9th Cir. 2003). Moreover, courts may consider
22   documents attached to or mentioned in a complaint and matters subject to judicial notice
23   without converting the motion into a summary judgment motion. Massey v. Ojaniit, 759
24   F.3d 343, 347-48 (4th Cir. 2014); Von Saher v. Norton Simon Museum of Art at
25   Pasadena, 592 F.3d 954, 960 (9th Cir. 2010).
26
27
28
                                                   5
 Case 2:21-cv-04366-RGK-MAR Document 28 Filed 08/30/21 Page 15 of 25 Page ID #:178




 1         B.     Plaintiff’s Complaint Seeks To Invoke The Equitable Jurisdiction Of
 2                This Court.
 3         Plaintiff’s first cause of action seeks the return of property pursuant to Fed. R.
 4   Crim. P. 41(g). Because plaintiff seeks the return of property, plaintiff’s complaint (or
 5   for that matter a motion, which is treated as a complaint)3 seeks to invoke the Court’s
 6   equitable jurisdiction. Fed. R. Crim. P. 41(g) motions/complaints are only appropriate
 7   where the return of property is sought and no criminal action seeking forfeiture of the
 8   property is pending nor have civil forfeiture proceedings been instituted. See United
 9   States v. $8,850, 461 U.S. 555, 569-70 (1983) (recognizing such motions under former
10   Fed. R. Crim. P. 41(e)). Because such a movant has no other available forum to address
11   the grievance, Fed. R. Crim. P. 41(g) motions are treated as equitable civil actions.
12   United States v. Martinson, 809 F.2d 1364, 1367 (9th Cir. 1987).
13         The Ninth Circuit has recognized that a district court’s invocation of equitable
14   jurisdiction to hear a Fed. R. Crim. P. 41(g) request for return of property should be
15   exercised with caution and restraint. Ramsden v. United States, 2 F.3d 322, 324 (9th
16   Cir. 1993). It is a fundamental principle of equitable jurisdiction that if an adequate
17   remedy at law exists, equitable relief is unavailable. United States v. Elias, 921 F.2d
18   870, 875 (9th Cir. 1990) (affirming district court’s refusal to exercise equitable
19   jurisdiction “because Elias had an adequate remedy at law”); United States v. U.S.
20   Currency, $83,170.78, 851 F.2d 1231, 1235 (9th Cir. 1988) (affirming denial of motion
21   for return of property where adequate remedies at law existed; there was “no need to
22   fashion an equitable remedy”).
23
24         3
              Ninth Circuit cases instruct district courts to treat Rule 41(g) motions as civil
     complaints governed by the Federal Rules of Civil Procedure. United States v. Ibrahim,
25   522 F.3d 1003, 1007 (9th Cir. 2008) (“[b]ecause there were no criminal proceedings
     pending at the time of filing, the District Court properly treated the motion as a civil
26   complaint governed by the Federal Rules of Civil Procedure”) (citation omitted); United
     States v. Ritchie, 342 F.3d 903, 906-07 (9th Cir. 2003). Once district courts treat the
27   motion “as a civil complaint, . . . it [is] required to apply the Federal Rules of Civil
     Procedure. These rules apply to each stage of the proceedings, the same way they would
28   in the civil context.” Ibrahim, 522 F.3d at 1008 (citation omitted and emphasis in
     original).
                                                      6
 Case 2:21-cv-04366-RGK-MAR Document 28 Filed 08/30/21 Page 16 of 25 Page ID #:179




 1         C.     Plaintiff Has Not Shown Equitable (And Therefore Subject Matter)
 2                Jurisdiction Exists As To The Items That Are Subject To
 3                Administrative Forfeiture Because The Commencement Of
 4                Administrative Forfeiture Proceedings Provides Plaintiff With An
 5                Adequate Remedy At Law.
 6         As shown below, the property plaintiff seeks to have returned is in the process of
 7   being returned and his claims are therefore moot. Nevertheless, the government notes
 8   that its commencement of administrative forfeiture as to the gold and silver shows that
 9   plaintiff has an adequate remedy at law provided as a result of the administrative
10   forfeiture proceedings.
11         In Elias, the Ninth Circuit held that administrative forfeiture proceedings provide
12   an adequate remedy at law and therefore preclude a district court from exercising
13   equitable jurisdiction to hear a Fed. R. Crim. P. 41(g) motion for return for property.
14   There, the government had seized assets and initiated administrative forfeiture
15   proceedings by providing notice thereof. In affirming the district court’s dismissal of
16   Elias’ motion, the court concluded that “Elias had a remedy at law pursuant to the
17   administrative forfeiture scheme set forth in 19 U.S.C. § 1608.” 921 F.2d at 872. The
18   court rejected the argument that only pending judicial forfeiture proceedings precluded
19   Fed. R. Crim. P. 41(g) relief, and held that administrative forfeiture proceedings
20   “provided Elias with the procedural tools to seek judicial review of the lawfulness of the
21   seizure of his property” and that “both [the administrative and judicial forfeiture]
22   procedures give the claimant an adequate remedy at law.” Id. at 873.
23         Following this rule, numerous Ninth Circuit and cases within the Circuit have
24   dismissed Fed. R. Crim. P. 41(g) motions and complaints where forfeiture proceedings
25   are pending, reasoning that the initiation of forfeiture proceedings provides an adequate
26   remedy at law and divests courts from hearing Fed. R. Crim. P. 41(g) motions or
27   complaints for the return of property. See, e.g., U.S. Currency, $83,310.78, 851 F.2d at
28   1235 (“when a civil forfeiture proceeding is pending, there is no need to fashion an
                                                  7
 Case 2:21-cv-04366-RGK-MAR Document 28 Filed 08/30/21 Page 17 of 25 Page ID #:180




 1   equitable remedy to secure justice for the claimant”); In Re Return of Seized Prop.
 2   (Jordan), 625 F. Supp. 2d 949, 955 (C.D. Cal. 2009) (in granting the government’s
 3   motion to dismiss a Fed. R. Crim. P. 41(g) motion for return with prejudice, the court
 4   noted “the Ninth Circuit has held that a Rule 41(g) motion is properly denied once a civil
 5   forfeiture action has been filed”) (citation omitted); In Re The Return of Seized Property,
 6   Specifically All Funds Seized from BoundlessRise, LLC, 2017 WL 4180149 (C.D. Cal.
 7   Aug. 30, 2017) (in granting government’s motion to dismiss for lack of subject matter
 8   jurisdiction, the district court noted “if a related civil forfeiture proceeding is filed - -
 9   either before or after the Rule 41(g) motion was brought - - the court no longer has
10   jurisdiction to entertain the Rule 41(g) motion. A civil forfeiture proceeding gives the
11   claimant an adequate remedy at law, precluding exercise of the district court’s equitable
12   powers”) (internal quotes and citations omitted).
13          Cases outside the Ninth Circuit are in accord. Haltiwanger v. United States, 494
14   F. Supp. 2d 927 (N.D. Ill. 2007) (granting government’s motion to dismiss for lack of
15   jurisdiction because the district court lacked equitable jurisdiction to hear Fed. R. Crim.
16   P. 41(g) motion once administrative forfeiture proceedings were commenced).
17          Numerous other cases also reach the same result. United States v. Voraveth, 2008
18   WL 4287293, *13 (D. Minn. Jul. 1, 2008), r.& r adopted, United States v. Naovalath,
19   2008 WL 2885965 (D. Minn. Jul. 22, 2008) (equitable relief under Fed. R. Crim. P.
20   41(g) is not available once administrative forfeiture proceedings commenced because
21   those proceedings provide an adequate remedy at law); $8,050.00 in U.S. Currency v.
22   United States, 307 F. Supp. 2d 922, 926-27 (N.D. Ohio 2004) (comprehensive provisions
23   in 18 U.S.C. § 983, governing the procedural aspects of civil forfeiture proceedings, give
24   claimant an adequate remedy at law for contesting a civil forfeiture; thus, once the
25   Government commences administrative forfeiture proceedings, a Rule 41(g) motion
26   must be dismissed); United States v. One 1987 Jeep Wrangler, 972 F.2d 472, 479 (2d
27   Cir. 1992) (“the claimant is afforded the opportunity to test the legality of the seizure in
28   the forfeiture proceeding. Consequently, once the administrative process has begun, the
                                                     8
 Case 2:21-cv-04366-RGK-MAR Document 28 Filed 08/30/21 Page 18 of 25 Page ID #:181




 1   district court loses subject matter jurisdiction to adjudicate the matter in a peripheral
 2   setting such as a Rule 41(e) motion”) (citations omitted); United States v. 2nd
 3   Amendment Guns, LLC, 917 F. Supp. 2d 1120 (D. Or. 2012) (once government
 4   commences administrative forfeiture proceeding, claimant has an adequate remedy at
 5   law to raise claimant’s Fourth Amendment unlawful search arguments).4
 6         Therefore, plaintiff’s complaint should be dismissed for lack of subject matter
 7   jurisdiction. The commencement of administrative forfeiture proceedings provides an
 8   adequate remedy at law and shows the equitable jurisdiction does not lie.
 9         D.     Plaintiff Cannot Satisfy Article III’s Case Or Controversy
10                Requirement.
11         Plaintiff’s first (Rule 41(g)), third (declaratory relief) and fourth (order disclosing
12   inventory pursuant to Rule 41(f)(1)(D)) causes of action are also barred because plaintiff
13   cannot satisfy Article III’s case or controversy requirement as to those causes of action.
14         First, the government commenced administrative forfeiture proceedings only as to
15   a portion of the property plaintiff seeks to have returned (namely the gold and silver
16   ignots and not the currency), and is in the process of returning all of those items.
17   Second, and as to the items subject to the administrative forfeiture proceeding, the
18   September 14, 2021 deadline for the government to file a judicial forfeiture action
19   against that property has not yet expired, meaning plaintiff’s request for relief is unripe.
20   Third, while the FAC alleges that irreparable injury exists based on decisions in a related
21   case, the decisions upon which plaintiff relies show that persons, like plaintiff, who filed
22   administrative claims suffered no irreparable injury because the government cannot
23
24         4
               Plaintiff also cites one old district court decision based on a magistrate’s
     recommendation, Otonye v. U.S., 903 F. Supp. 357 (E.D.N.Y. 1995), to suggest that
25   equitable jurisdiction exists apart from Rule 41(g). However, that is incorrect. The
     scope of Rule 41(g) is now clear, as evidenced by the multitude of cases cited above, in
26   that it allows courts under their equitable jurisdiction to provide for return of property
     where there are no criminal proceedings or asset forfeiture proceedings against the
27   property. Id. at 360 (“Rule 41(e) was amended in 1989 expressly to clarify the
     ambiguity in the prior rule regarding the scope of a court’s jurisdiction to hear motions
28   for return of property”). Accordingly, Rule 41(g) is the sole basis to seek the return of
     property based on equitable jurisdiction.
                                                       9
 Case 2:21-cv-04366-RGK-MAR Document 28 Filed 08/30/21 Page 19 of 25 Page ID #:182




 1   conclude a forfeiture of their property without filing a judicial forfeiture action (which
 2   sets forth the factual and legal bases for the forfeiture) as to those persons and the pursuit
 3   of those judicial actions to conclusion, as the filing of an administrative claim prevents
 4   the seizing agency from concluding an administrative forfeiture. 5 Paul Snitko, et al. v.
 5   United States of America, et al., Case No. 2:21-cv-04405-RGK-MAR, Docket No. 64-4
 6   at page 20-21. In addition, the government notes that a seizing agency’s forfeiture notice
 7   standing alone is not controlling because property cannot be forfeited as to an
 8   administrative claimant like plaintiff without prosecuting a judicial forfeiture action to
 9   completion.6
10         Plaintiff’s request for relief based on future events that may or may not occur
11   (namely, the government not releasing their property after the forfeiture deadline
12   expires) runs afoul of Article III case or controversy standing and ripeness requirements.
13   In addition, Plaintiff’s request for relief is moot because the government is releasing
14   plaintiff’s property.
15
16         5
             By law, the filing of a claim stops the administrative forfeiture proceeding as to
     the property (28 C.F.R. § 8.10(e)) which means that the agency cannot enter a final
17   decision declaring the asset administratively forfeited under 28 C.F.R. § 8.12 (i.e., the
     equivalent of a court judgment of forfeiture in a judicial case), and requires the seizing
18   agency to refer the matter to the United States Attorney’s Office for the filing of a
     complaint for forfeiture in Court, and the government must “promptly release” the
19   property if the complaint for forfeiture is not filed within 90 days after the claim
     contesting forfeiture is filed with the seizing agency (see 18 U.S.C. § 983(a)(3)(A) &
20   (B)).
21         6
              In addition, the U.S. Supreme Court and the Ninth Circuit hold that delays
     significantly longer than the approximately 5 months between the seizure and today to
22   allow a party to have a hearing on the merits of the forfeiture issue do not constitute a
     due process violation. United States v. $8,850.00 in U.S. Currency, 461 U.S. 555, 565
23   (1983) (18 month delay between the seizure of property and commencement of
     administrative forfeiture proceedings did not violate due process); United States v.
24   Approximately $1.67 Million in U.S. Currency, Stock & Other Valuable Assets, 513
     F.3d 991, 998, 1001 (9th Cir. 2008) (five year delay between seizure of property and
25   filing of judicial civil forfeiture complaint did not violate due process); United States v.
     Ninety-Three (93) Firearms, 330 F.3d 414, 426 (6th Cir. 2003) (three year delay between
26   seizure of property and filing of complaint did not violate due process); cf. United States
     v. $1,111,120.00 in U.S. Currency, 2014 WL 619436 (S.D. Ohio Feb. 18, 2014) (stay of
27   civil forfeiture action for three years while criminal investigation was ongoing did not
     violate due process).
28
                                                   10
 Case 2:21-cv-04366-RGK-MAR Document 28 Filed 08/30/21 Page 20 of 25 Page ID #:183




 1         The “case or controversy” requirement in Article III mandates that issues be
 2   “definite and concrete, not hypothetical or abstract,” before federal courts may exercise
 3   jurisdiction over them. Railway Mail Ass'n v. Corsi, 326 U.S. 88, 93 (1945). In
 4   applying this jurisdictional limitation, courts have, under the rubric of ripeness or
 5   standing, refused to consider issues that are hypothetical. Thomas v. Anchorage Equal
 6   Rights Com’n, 220 F.3d 1134, 1138-39 (9th Cir. 2000). An issue or action is deemed to
 7   be unripe when the claims that it presents have either not yet occurred or not become
 8   sufficiently “concrete” for judicial resolution. Western Oil & Gas Ass’n v. Sonoma
 9   County, 905 F.2d 1287, 1290 (9th Cir. 1990).
10          Because ripeness is a constitutional prerequisite for jurisdiction, courts lack
11   jurisdiction to review claims unless they are ripe. United States v. Streich, 560 F.3d 926,
12   931 (9th Cir. 2009). The role of the judiciary is “neither to issue advisory opinions nor
13   to declare rights in hypothetical cases, but to adjudicate live cases or controversies
14   consistent with the powers granted the judiciary in Article III of the Constitution.”
15   Thomas, 220 F.3d at 1138 (citation omitted). Ripeness is therefore “designed to prevent
16   the courts, through avoidance of premature adjudication, from entangling themselves in
17   abstract disagreements.” Stormans, Inc. v. Selecky, 586 F.3d 1109, 1122 (9th Cir. 2009)
18   (internal quotes omitted).
19         To determine whether a case is ripe for review, the Ninth Circuit has held that the
20   proper analysis is (1) whether the issue is fit for judicial decision, and (2) whether the
21   parties will suffer a hardship if the court withholds decision. United States v. Lazarenko,
22   476 F.3d 642, 652 (9th Cir. 2007). A question is fit for decision when it can be decided
23   without considering “contingent future events that may not occur as anticipated, or
24   indeed may not occur at all.” Cardenas v. Anzai, 311 F.3d 929, 934 (9th Cir.2002)
25   (internal quotes omitted); see also Streich, 560 F.3d at 931. That is, the injury
26   complained of must be “real and concrete rather than speculative and hypothetical.”
27   Stormans, Inc., 586 F.3d at 1122 (internal quotes omitted). Accord, Lujan v. Defenders
28   of Wildlife, 504 U.S. 555, 560 (1992) (in order to have standing to sue, Article III
                                                   11
 Case 2:21-cv-04366-RGK-MAR Document 28 Filed 08/30/21 Page 21 of 25 Page ID #:184




 1   requires that a plaintiff “suffer[] an injury in fact – an invasion of a legally protected
 2   interest which is (a) concrete and particularized . . . and (b) actual or imminent, not
 3   conjectural or hypothetical”) (internal quotes omitted). Courts should consider “whether
 4   the controversy generated is essentially legal in nature or whether further factual
 5   amplification is necessary.” Lazarenko, 476 F.3d at 652. (internal quotes omitted).
 6   Where the case is “too speculative for resolution by a federal court” and “[f]urther
 7   delineation of the facts is necessary to shape the issues for review,” courts have declined
 8   to review the case on ripeness grounds. Western Oil & Gas Ass’n, 905 F.2d at 1291.
 9         The second prong requires determining whether postponing review would impose
10   a “direct and immediate hardship.” Lazarenko, 476 F.3d at 652. “To meet the hardship
11   requirement, a litigant must show that withholding review would result in ‘direct and
12   immediate’ hardship and would entail more than possible financial loss.” Winter v. Cal.
13   Med. Review Bd., Inc., 900 F.2d 1322, 1325 (9th Cir.1990) (citations omitted). As the
14   party asserting jurisdiction, plaintiffs bear the burden of establishing that they have
15   “suffered an injury in fact -- an invasion of a legally protected interest which is (a)
16   concrete and particularized; and (b) actual or imminent, not conjectural or hypothetical.”
17   Laub v. United States Dep’t of the Interior, 342 F.3d 1080, 1085 (9th Cir. 2003).
18         Plaintiff’s first, second and fourth causes of action should be dismissed for this
19   reason, as well. Plaintiff has not satisfied Article III’s case or controversy requirement.
20         E.     Plaintiff’s Request For The Return Of Items The Government Does
21                Not Possess Must Be Brought Under The Federal Torts Claims Act.
22         The government is returning to plaintiff the items that it seized. As to any
23   additional items, which the government does not possess, a Rule 41(g) claim is
24   improper. Rule 41(g) does not waive sovereign immunity to allow suits for monetary
25   damages for property the government does not have, any claim for missing/lost/stolen
26   property must be brought under the Federal Torts Claims Act (the “FTCA”), 28 U.S.C.
27   § 2671 et seq., for monetary damages and the FAC neither mentions nor pleads the
28   elements necessary to state a FTCA claim.
                                                   12
 Case 2:21-cv-04366-RGK-MAR Document 28 Filed 08/30/21 Page 22 of 25 Page ID #:185




 1         “It is axiomatic that the United States may not be sued without its consent and that
 2   the existence of consent is a prerequisite for jurisdiction.” Jachetta v. United States, 653
 3   F.3d 898, 903 (9th Cir. 2011) (internal quotes and citation omitted). Thus, “[i]n an
 4   action against the United States, in addition to statutory authority granting subject matter
 5   jurisdiction, there must be a waiver of sovereign immunity.” Arford v. United States,
 6   934 F.2d 229, 231 (9th Cir. 1991). That waiver “cannot be implied, but must be
 7   unequivocally expressed in statutory text.” Jachetta, 653 F.3d at 903 (internal quotes
 8   and citation omitted).
 9         The government cannot return property it does not possess and a plaintiff is barred
10   from seeking monetary damages under Rule 41(g). Ordonez v. United States, 680 F.3d
11   1135, 1137–40 (9th Cir. 2012) (“No matter how compelling the circumstances, because
12   Rule 41(g) contains no express and unequivocal waiver of the government’s sovereign
13   immunity, money damages are not a permitted form of relief”); see also United States v.
14   Eames, 524 F. App'x 320 (9th Cir. 2013) (vacating district court’s award of money
15   damages and remanding with instructions to dismiss Rule 41(g) movant’s claim for
16   compensation for lost coins); Bailey v. United States, 508 F.3d 736, 740 (5th Cir. 2007)
17   (if the government no longer possesses the seized cash, “[claimant’s] motion must be
18   denied because the government cannot return property it does not possess, and the
19   doctrine of sovereign immunity bars the award of monetary damages under Rule 41(g)”).
20         While Rule 41(g) is a vehicle for seeking the return of property, it “does not waive
21   the sovereign immunity of the United States with respect to actions for money damages
22   relating to such property.” Adeleke v. United States, 355 F.3d 144, 151 (2d Cir. 2004);
23   Diaz v. United States, 517 F.3d 608, 613 (2d Cir. 2008) (in Rule 41(g) cases, “[o]nce
24   seized currency has been disbursed and is no longer available . . . a claim for its return is
25   . . . no longer at hand: such claims are jurisdictionally barred by the principle of
26   sovereign immunity”); Kahn v. United States, 2009 WL 2900249 at *3 (S.D.N.Y. Sept.
27   8, 2009) (where, as here, “property is not available for return for whatever reason, the
28
                                                   13
 Case 2:21-cv-04366-RGK-MAR Document 28 Filed 08/30/21 Page 23 of 25 Page ID #:186




 1   aggrieved party cannot obtain monetary damages against the United States”) (internal
 2   quotes and citation omitted).
 3         Further, to establish subject matter jurisdiction under the FTCA, a complaint must
 4   allege plaintiff has exhausted plaintiff’s administrative remedies, by sending the stolen
 5   or missing property claim to an administrative agency and that the agency denied
 6   plaintiff’s claim, which is a jurisdictional prerequisite for filing suit under the FTCA for
 7   monetary damages; without that allegation, a complaint is properly dismissed for lack of
 8   subject matter jurisdiction. 28 U.S.C. §§ 2672 and 2675(a); Blair v. IRS, 304 F.3d 861,
 9   864-65 (9th Cir. 2002); Gillespie v. Civiletti, 629 F.2d 637, 640 (9th Cir. 1980).
10         For this reason as well, plaintiff’s causes of action should be dismissed.
11         F.     Plaintiffs’ Stand-Alone Third And Fourth Causes Of Action Do Not
12                State Claims Upon Which Relief Can Be Granted Because They Are
13                Remedies And Not Independent Claims For Relief.
14         Plaintiff’s third cause of action seeks declaratory relief while plaintiff’s fourth
15   cause of action seeks an order, which is akin to an injunction, requiring the government
16   to provide an inventory of the property taken from plaintiff’s box pursuant to Fed. R.
17   Crim. P. 41(f)(1)(D). These are remedies, not causes of action, and therefore a Fed. R.
18   Civ. P. 12(b)(6) motion is properly granted as to them. Amina v. WMC Fin. Co., 329 F.
19   Supp. 3d 1141, 1166 (D. Haw. 2019) (“[t]o the extent Plaintiffs seek declaratory and
20   injunctive relief as an independent claim, the Court follows the well-settled rule that a
21   claim for such relief, standing alone, is not a cause of action. Accordingly, this cause of
22   action fails to state a stand-alone claim upon which relief can be granted”) (citations
23   omitted); Silver State Broad, LLC v. Beasley FM Acquisition Corp., 2012 WL 4049481,
24   *3 (D. Nev. Sept. 12, 2012) (“[a]s a preliminary matter, the Court dismisses Plaintiffs’
25   Claim[] . . . 5 (injunctive relief) . . . as these ‘claims’ are not recognized causes of action
26   but are rather remedies. Under Rule 12(b)(6), a request for a specific remedy is not
27   sufficient to state a claim upon which relief can be granted”) (internal quotation marks
28   and citation omitted); Jensen v. Quality Loan Serv. Corp., 702 F. Supp. 2d 1183, 1201
                                                    14
 Case 2:21-cv-04366-RGK-MAR Document 28 Filed 08/30/21 Page 24 of 25 Page ID #:187




 1   (E.D. Cal. 2010) (dismissing plaintiff’s claim for injunctive relief without leave to
 2   amend, and noting “[a] request for injunctive relief by itself does not state a cause of
 3   action . . . An injunction is a remedy, not a separate claim or cause of action”); Ballard v.
 4   Chase Bank United States, NA, 2010 WL 5114952, *8 (S.D. Cal. Dec. 9, 2010) (“[a]
 5   claim for declaratory relief rises or falls with the other claims”) (internal quotation marks
 6   and citations omitted).
 7         For this reason as well, plaintiff’s second and fourth causes of action should be
 8   dismissed.
 9         G.     Plaintiff’s Fourth Cause Of Action For Order Disclosing Inventory
10                Fails To State A Claim For Relief.
11         Plaintiff’s fourth cause of action seeks an inventory of the property seized at
12   USPV, pursuant to Fed. R. Crim. P. 41(f)(1)(D). However, Fed. R. Crim. P. 41(f)(1)(C)
13   provides three alternative methods of serving a search warrant, namely that the officer
14   may “give a copy of the warrant and a receipt for the property taken or leave a copy of
15   the warrant and receipt at the place where the officer took the property.” Here, the
16   warrants which authorized the seizure of USPV’s property were properly served on
17   USPV by leaving them “at the place where the officer took the property,” thus satisfying
18   Fed. R. Crim. P. 41. Each legitimate boxholder already knows of the items they kept in
19   their boxes, and providing an inventory would be disastrous for attempting to verify
20   what may be false claims for valuables by persons pretending to be the owner of the
21   contents of a specific box. Furthermore, Rule 41 does not govern inventory searches as
22   to the items recovered from the inventory, which is an administrative function involving
23   the inventorying process. Accordingly, for these reasons as well, plaintiff’s fourth cause
24   of action should be dismissed.
25
26
27
28
                                                  15
 Case 2:21-cv-04366-RGK-MAR Document 28 Filed 08/30/21 Page 25 of 25 Page ID #:188




 1                                             IV.
 2                                      CONCLUSION
 3         For the foregoing reasons, the government respectfully requests that its motion be
 4   granted.
 5   Dated: August 30, 2021                      Respectfully submitted,
 6                                               TRACY L. WILKISON
                                                 Acting United States Attorney
 7                                               SCOTT M. GARRINGER
                                                 Assistant United States Attorney
 8                                               Chief, Criminal Division
 9                                                     /s/             ______________
                                                 ANDREW BROWN
10                                               VICTOR A. RODGERS
                                                 MAXWELL COLL
11                                               Assistant United States Attorneys
12                                               Attorneys for Defendants
                                                 UNITED STATES OF AMERICA, and
13                                               TRACY L. WILKISON and KRISTI
                                                 KOONS JOHNSON IN THEIR OFFICIAL
14                                               CAPACITY ONLY
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                16
